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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

RUSSELL, et al,                        §
    Plaintiffs                         §
                                       §            No. 4:19-cv-00226
v.                                     §            Hon. Lee H. Rosenthal
                                       §            U.S. District Judge
HARRIS COUNTY, TEXAS, et al,           §
    Defendants                         §

           REPORT OF SHERIFF ED GONZALEZ JULY 21, 2020

      We will begin with the bad news. Now well into the fourth month of the

COVID-era, in spite of the coordination and prodding from this Court, the situation

regarding jail releases has not appreciably changed.

      The DA’s office, for example, continues to review periodically lists of new

inmates to provide lists of those new inmates with whom the DA has no objection

to release. To be sure, the “no objection” numbers are small, but what happens to

those lists illustrates the torpor of the system. The lists are sent to many of the

stakeholders in the system (defense counsel representatives, for example), but the

DA does not contact any specific defense attorney or court directly. Only if the

defense counsel initiates activity will the machinery of release begin to move. So it

has always been.

      The process has, if possible, become even more cumbersome with the addition

of the felony judges as parties to this case. The other parties were instructed to no
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longer contact the felony judges directly, instead, to communicate only through

counsel. In the past, the Sheriff’s office regularly emailed with the judges regarding

particular cases or processes, but that has slowed or stopped now.

       But, some good news, or what passes for good news in this brave new world.

Though the virus in the general population of the county rages ever more intensely,

the Sheriff’s intake procedures and aggressive testing protocols have kept the virus

largely under control in the jail. Yes, there are many inmates and HCSO staff still

testing positive, but the number actually ill and requiring medical treatment has not

mirrored the rest of the outside world, though it has trended upward in the last month.

The crisis level at the jail is bad, but not off the charts.

       Now, the numbers:

       1. The total jail population is 8,036; of that number, 6,269 are pretrial

          detainees, and 6,070 are felony pre-trial.

       2. Of the 538 inmates put on the non-violent list more than two weeks ago,

          178 (approximately one-third) have been released.

       3. 567 HCSO staff tested positive (of whom, 437 work in the jail); 339 still

          on quarantine; and 11 in the hospital.

       4. 5,647 inmates tested; 4,160 negative; and 1,435 positive (with 717 now

          recovered).




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      5. 1,959 inmates in observational quarantine; 648 inmates in buffer

         quarantine; and 159 in surveillance quarantine (asymptomatic but tested

         positive). 72 inmates are actively ill, with 2 in the hospital.

                                       Respectfully submitted.

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                         CERTIFICATE OF SERVICE

      I certify that on July 21, 2020, a copy of this document was served on counsel

of record via electronic filing in accordance with the USDC Southern District of

Texas Procedures for Electronic Filing.

                                       /s/ Murray Fogler
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